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                      UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                            AMARILLO DIVISION

ALLIANCE FOR HIPPOCRATIC MEDICINE,      §
et al.,                                 §
                                        §
           Plaintiffs,                  §
                                        §
           v.                           §     Case No. 2:22-cv-00223-Z
                                        §
U.S. FOOD AND DRUG ADMINISTRATION,      §
et al.,                                 §
                                        §
           Defendants.                  §

             INTERVENOR DANCO LABORATORIES, LLC’S
     MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO
        PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
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                                        INTRODUCTION

       In 2000, after careful analysis of supporting studies and data, the Food and Drug

Administration (FDA) concluded that Mifeprex is safe and effective, and approved the drug for

use in conjunction with misoprostol. The intervening two-plus decades of use, as well as multiple

reevaluations by FDA, have affirmed that conclusion.

       Plaintiffs now seek an extraordinary remedy: They ask this Court, decades after the fact,

to intercede in the expert federal agency’s drug approval process and force FDA to withdraw its

approval—a mandatory injunction, in an emergent posture no less. Forcing FDA to withdraw a

longstanding approval would seismically disrupt the agency’s governing authority as to whether

drugs are safe and effective, and would cause Danco direct and immediate harm by shuttering its

business. The Court should deny Plaintiffs’ request for a preliminary injunction.

       To obtain the extraordinary relief of a preliminary injunction, Plaintiffs must show a

likelihood of success on the merits, irreparable harm absent an injunction, and that the balance of

the parties’ interests, and the public interest, warrant relief. See Nken v. Holder, 556 U.S. 418, 426

(2009). Plaintiffs can satisfy none of these preliminary injunction factors.

       Plaintiffs’ claims have both procedural and substantive defects that will preclude success

on the merits. Start with constitutional standing: No Plaintiff has presented a cognizable injury to

the Court. Then consider statute of limitations: It has long since run on Plaintiffs’ claims related

to the 2000 approval of Mifeprex. On the merits, Plaintiffs face equally high hurdles. They argue

that FDA used the incorrect approval pathway to approve Mifeprex. This claim is time-barred as

to the 2000 approval and unexhausted as to the 2016 supplemental approval. And in any event,

FDA’s interpretation of its own regulation is entitled to deference. FDA also did not fail to




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consider scientific evidence: FDA has considered on multiple occasions the supposed deficiencies

Plaintiffs assert, each time concluding the agency acted properly.

       The other Nken factors also strongly favor denying a preliminary injunction.             The

suggestion that Plaintiffs will be irreparably harmed if women are allowed to continue accessing

Mifeprex is meritless.    A third party’s use of a federally approved drug does not cause

organizations or other providers “irreparable harm.” That is all the more so when women have

been able to lawfully access the drug for over 22 years. In contrast, the consequences for

Intervenor Danco Laboratories, LLC from a preliminary injunction, would be existential. Danco

is a small pharmaceutical company that distributes one product: Mifeprex. A preliminary

injunction forcing FDA to withdraw approval of mifepristone would effectively force Danco out

of business. And the public’s interest is in retaining access to a drug product that FDA has

evaluated to be safe and effective. The public has no interest in a hastily cobbled together, and

overtly political, attempt by private parties to wrest control of the drug approval process from the

United States agency responsible for it—an agency that has acted deliberately, thoughtfully, and

consistent with its authorizing statute and implementing regulations.

       Plaintiffs’ request for a preliminary injunction should be denied.

                                  FACTUAL BACKGROUND
       A. Danco Laboratories LLC and Its Sole Product, Mifeprex®

       Danco holds the approved New Drug Application (NDA) for Mifeprex (mifepristone)

Tablets, a drug approved by FDA for use in a regimen with misoprostol, for the medical

termination of intrauterine pregnancy through 70 days gestation. U.S. Food & Drug Admin.,

Mifeprex Prescribing Information (Jan. 2023). Mifeprex is Danco’s only product.




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       B. FDA’s Approval of Mifeprex In 2000

       FDA received the NDA for Mifeprex in March 1996, kicking off a nearly five-year review

process. Plaintiffs’ App. 527 (hereinafter, “App.”). The NDA contained, among other things, data

from two multi-center clinical trials involving over two thousand patients, which built on

“extensive experience” with the drug outside the US that had shown effectiveness rates from

92.7% to 99%, and two pivotal studies in France. U.S. Food & Drug Admin., Medical Officer’s

Review of NDA 20-687, at 6-7 (Nov. 1999), https://www.accessdata.fda.gov/drugsatfda_do

cs/nda/2000/20687_Mifepristone_medr_P1.pdf.           In addition to extensive review within the

agency, the Mifeprex NDA was the subject of review by FDA’s Reproductive Health Drugs

Advisory Committee, an outside committee of experts that voted 6-0 (with two abstentions) to

recommend approval of the product. App. 518.

       In September 2000, after careful review of the extensive data, and consistent with the

recommendation from the agency’s outside advisors, FDA approved NDA 020687 for the medical

termination of intrauterine pregnancy through 49 days’ pregnancy. App. 527. This approval

necessarily reflected FDA’s determination that Mifeprex was safe and effective for the proposed

use. 21 U.S.C. § 355(b)(1)(A)(i); see also id. § (c)(1)(A), (d); 21 C.F.R. § 314.105(a), (c). The

approval was granted under FDA’s regulations at 21 C.F.R. Part 314 Subpart H (Subpart H), which

permitted FDA to impose conditions the agency deemed necessary to ensure the product’s safe

use, including in this instance requirements regarding the capabilities and commitments of each

healthcare provider who would be authorized to prescribe the drug and restrictions on how the

drug would be distributed. App. 527.

       Approval under Subpart H is appropriate for drug products that are intended to “treat[]

serious or life-threatening illnesses and that provide meaningful therapeutic benefit to patients over




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existing treatments.” 21 C.F.R. § 314.500. Where FDA concludes that a drug has been shown to

be effective, but “can be safely used only if distribution or use is restricted,” Subpart H allows the

agency to “require such postmarketing restrictions as are needed to assure safe use of the drug

product,” which may include restricting distribution to certain facilities or physicians with special

training or experience or conditioning distribution on the performance of specified medical

procedures. 21 C.F.R. § 314.520(a).

       C. 2002 Citizen Petition and FDA Denial

       In August 2002, Plaintiffs American Association of Pro-Life Obstetricians and

Gynecologists (AAPLOG) and Christian Medical & Dental Associations, along with the

Concerned Women for America, submitted a petition requesting, among other things, that FDA

stay and ultimately revoke approval of Mifeprex. App. 280. The petition challenged the approval

on a number of grounds, including assertions that the requirements for approval under Subpart H

were not met and that the data submitted in the NDA did not adequately demonstrate that the drug

is safe and effective for the intended use. App. 298-303.

       Having “carefully considered the information submitted in [the] Petition,” FDA denied the

petition in a 33-page response. App. 562. The agency explained in detail that pregnancy can be a

serious medical condition and medical abortion provides a meaningful therapeutic benefit over

surgical abortion, which is why approval of Mifeprex under Subpart H was appropriate. App. 564-

68. FDA also meticulously reviewed, over many pages, how the data in the NDA demonstrated

the safety and effectiveness of Mifeprex for the intended use and the agency refuted the petitioners’

assertions to the contrary. App. 568-75.




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        D. Congressional Investigation and GAO Report

        In 2008, at the request of several members of Congress, the U.S. Government

Accountability Office (GAO) reviewed FDA’s approval of Mifeprex and oversight of the drug

since approval. U.S. Gov’t Accountability Off., Approval and Oversight of the Drug Mifeprex

(Aug. 2008), https://www.gao.gov/assets/gao-08-751.pdf. The GAO “(1) examine[d] FDA’s

approach to approving Mifeprex, including the types of evidence considered and the restrictions

placed on its distribution and use; (2) compare[d] the approval process for Mifeprex to the approval

processes for other drugs approved under the restricted distribution provision of Subpart H; and

(3) compare[d] FDA’s oversight of the use of Mifeprex since its approval to the agency’s oversight

of the other drugs approved under the restricted distribution provision of Subpart H.” Id. at 3-4.

        At the conclusion of its 18-month investigation, GAO concluded that the approval process

for Mifeprex was consistent with the processes for the other Subpart H restricted drugs and that

FDA’s postmarket oversight of Mifeprex was consistent with its oversight of other Subpart H

restricted drugs. Id. at 5-7.

        E. Establishment of a Mifeprex REMS

        In September 2007, Congress amended the Food, Drug, and Cosmetic Act to give FDA

authority to require an applicant to submit a risk evaluation and mitigation strategy (REMS) if the

agency determined that a REMS “is necessary to ensure that the benefits of the drug outweigh the

risks of the drug.” 21 U.S.C. § 355-1(a)(1). This new authority extended to already-approved

drugs. 21 U.S.C. § 355-1(a)(2). The enacting statute provided that for already-approved drugs

that had in effect elements to assure safe use required under 21 C.F.R. § 314.520 or that the

applicant otherwise agreed would be deemed to have an approved REMS in effect, the sponsor

would be required to submit a REMS application. Food and Drug Admin. Amends. Act of 2007,




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Pub. L. 110–85, tit. IX, § 909(b)(1), (3). FDA subsequently announced that Mifeprex was among

the drug products deemed to have a REMS and that would require submission of a REMS

application. Identification of Drug and Biological Products, 73 Fed. Reg. 16313 (Mar. 27, 2008).

       Danco submitted the REMS application on September 17, 2008, and FDA approved it, as

amended, on June 8, 2011. App. 599. The approved REMS maintained and augmented the

Subpart H requirements imposed with the initial approval of Mifeprex. App. 604.

       F. 2016 Changes to Mifepristone Conditions of Use

       In March 2016, FDA approved changes to the Mifeprex indication, doses, and dosing

regimen, and revisions to the REMS. App. 616, 625-51. Among other things, Mifeprex was

approved for use up to 70 days of gestation; the mifepristone dose was reduced and the misoprostol

dose increased, with a change in route of administration from oral to buccal (between the cheek

and the gum); the timing of the misoprostol dose was expanded; misoprostol could be taken at

home; flexibility was added to the timing and conditions of the required follow-up visit; and it was

recognized that qualified healthcare providers other than physicians could prescribe the drug to

patients. Id.

       FDA approved these changes after careful review of clinical and other data demonstrating

that Mifeprex would continue to be safe and effective under the revised conditions. App. 630-42.

The supporting data primarily included published literature and additional information requested

by FDA. Id. The submission included information on the efficacy of the revised doses and dosing

regimen in over 35,000 women, and at up to 70 days gestation in over 30,000 women. App. 631.

Similarly, FDA reviewed extensive information and data from published literature and reported

adverse events, including from real-world use of the drug over the 15 years since its approval, to

conclude that Mifeprex would be safe under the revised conditions of use. App. 635-42.




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       In March 2018, responding to another request from several members of the Congress, the

GAO issued a report on FDA’s actions in approving the 2016 changes. U.S. Gov’t Accountability

Off., Information on Mifeprex Labeling Changes and Ongoing Monitoring Efforts (Mar. 2018),

https://www.gao.gov/assets/gao-18-292.pdf. The GAO reviewed FDA policies and regulations,

analyzed adverse event reports, reviewed reports from FDA inspections of Danco, examined

studies and data related to the safety and use of Mifeprex, and obtained information from a number

of sources, including Plaintiffs AAPLOG and the American College of Pediatricians (ACOP) and

the National Right to Life Committee. Id. at 1, 4 n.12. The GAO concluded that FDA “followed

its standard review process when it approved the [2016 changes].” Id. at 1.

       G. 2019 Citizen Petition and FDA Response

       In 2019, Plaintiffs AAPLOG and ACOP submitted a citizen petition to FDA asking the

agency to “restore and strengthen elements of the Mifeprex regimen and prescriber requirements

approved in 2000,” and “retain the Mifeprex [REMS], and continue limiting the dispensing of

Mifeprex to patients in clinics, medical offices, and hospitals, by or under the supervision of a

certified prescriber.” App. 668-69. On December 16, 2021, in a 40-page response addressing in

detail petitioners’ concerns, assertions, and the sources cited in support, FDA denied the petition,

except to the extent the petition generally requested that the mifepristone REMS program

continue—which was not at issue. App. 730.

       H. Removal of In-Person Dispensing Requirement

       One provision of the REMS was a requirement that Mifeprex be provided to the patient in

person at the clinic or other healthcare setting in which treatment was delivered. App. 604, 724.

On April 20, 2020, citing the implications of the COVID-19 pandemic on the ability (and

advisability) of patients’ having in-person medical appointments with healthcare providers for this




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purpose, the American College of Obstetricians and Gynecologists (ACOG) and the Society for

Maternal-Fetal Medicine (SMFM) sent a letter urging FDA to suspend enforcement of the in-

person dispensing requirements of the Mifeprex REMS. App. 710-11.

        FDA responded to the letter on April 12, 2021, informing ACOG and SMFM that, based

on a review of multiple published clinical studies and postmarketing adverse event reports, the

agency had concluded that there were no safety concerns that would preclude suspending the in-

person dispensing requirement during the COVID-19 public health emergency.                   App. 731.

Accordingly, during the COVID-19 public health emergency, the agency would exercise

enforcement discretion with regard to “dispensing of Mifeprex . . . through the mail either by or

under the supervision of a certified prescriber, or through a mail-order pharmacy when such

dispensing is done under the supervision of a certified prescriber.” App. 734.

        I. Plaintiffs’ 2022 Lawsuit

        Plaintiffs filed this lawsuit challenging as arbitrary and capricious FDA’s actions regarding

the 2000 approval, denial of their 2002 citizen petition, 2016 supplemental changes, approval of a

generic, denial of their 2019 citizen petition, and 2021 non-enforcement decision.

                                    STANDARD OF REVIEW
        A preliminary injunction is “an extraordinary remedy” that can be granted only when the

moving party “has clearly carried [its] burden of persuasion.” CAE Integrated, L.L.C. v. Moov

Techs., Inc., 44 F.4th 257, 261 (5th Cir. 2022). In carrying its burden, the movant must show “(1) a

substantial likelihood of success on the merits, (2) irreparable injury if the injunction is not granted,

(3) that the injury outweighs any harm to the other party, and (4) that granting the injunction will

not disserve the public interest.” Id. (citation omitted). “These four factors are conjunctive — i.e.,

the plaintiff must cany the burden as to all four factors before a preliminary injunction may be

considered.” FirstBank Sw. v. Heartland Fin. USA, Inc., No. 2:21-CV-024-Z, 2021 WL 3743806,


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at *2 (N.D. Tex. Aug. 24, 2021). Courts are instructed to only invoke their preliminary injunction

power “sparingly and only in extraordinary circumstances.” Id.

                                           ARGUMENT
   I.      Plaintiffs are Unlikely to Succeed on the Merits of Their Claims.
           A. Plaintiffs Lack Standing to Challenge FDA’s Approval of Mifeprex.

        To establish Article III standing, a plaintiff must have suffered an “injury in fact,” meaning

an injury to a “legally protected interest which is (a) concrete and particularized; and (b) ‘actual or

imminent, not conjectural or hypothetical.’” Tenth St. Residential Ass’n v. City of Dallas, 968

F.3d 492, 499 (5th Cir. 2020) (quoting NAACP v. City of Kyle, 626 F.3d 233, 237 (5th Cir. 2010)).

Neither the Organizational Plaintiffs nor the Provider Plaintiffs can show anything close.

               1. The Organizational Plaintiffs Lack Organizational Standing.

        The Organizational Plaintiffs do not have organizational standing for two reasons. First,

the only “injury” alleged by the organizations is that the time they have spent challenging FDA’s

actions have caused them to divert resources from other unspecified activities. Dkt. 7 at 7. These

vague allegations do not suffice. And second, contrary to the organizations’ suggestion, the

administrative act of filing a citizen petition does not confer Article III standing.

        An organization has standing in its own right only if it meets the “standing test that applies

to individuals.” Tenth St. Residential Ass’n, 968 F.3d at 500 (citation omitted). An organization

can show an injury in fact “by showing that it ha[s] diverted significant resources to counteract the

defendant’s conduct.” City of Kyle, 626 F.3d at 238. That showing is not a light lift, however; the

defendant’s conduct must “significantly and ‘perceptibly impair[]’ the organization’s ability to

provide its ‘activities—with the consequent drain on the organization’s resources.’” Id. (citation

omitted). And in the Fifth Circuit, any such injury concerning the diversion of resources must be

“concrete and demonstrable.” Id. (citation omitted). An organization that diverts resources in



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reaction to a defendant’s conduct “does not automatically suffer a cognizable injury in fact.” El

Paso Cnty. v. Trump, 982 F.3d 332, 343 (5th Cir. 2020). Instead, the organization’s reaction “must

differ from its routine activities.” Id. at 344. So, to show diversion-of-resources standing, an

organization must “identify[] ‘specific projects that [it] had to put on hold or otherwise curtail in

order to respond to the [challenged laws].’ ” Texas State LULAC v. Elfant, 52 F.4th 248, 253 (5th

Cir. 2022) (second and third alteration in original) (citation omitted).

       The Organizational Plaintiffs have failed to do so. They say challenging FDA’s actions

has required them to divert resources away from “other priorities and functions.” See Dkt. 7 at 7;

Dkt. 1-4, ¶ 20; Dkt. 1-6, ¶ 27; Dkt. 1-7, ¶ 21; Dkt. 1-8, ¶¶ 22–23. But they fail to identify any

particular “priorities and functions” from which they have diverted resources. Because the

Organizational Plaintiffs have not shown that they have “forego[ne] other projects or causes” to

challenge FDA’s approval of Mifeprex, Tenth St. Residential Ass’n, 968 F.3d at 500, they have

not established in injury in fact. They have merely alleged a purported “setback to [their] abstract

social interests.” Id. at 500 (quoting City of Kyle, 626 F.3d at 239).

       OCA-Greater Houston v. Texas, 867 F.3d 604 (5th Cir. 2017), is not to the contrary. Dkt.

7 at 7–8. The Fifth Circuit in that voting-rights case concluded that the plaintiff organization, a

group with the mission of “voter outreach and civic education,” had sufficiently alleged injury-in-

fact where the group had specifically alleged that it had been forced to “calibrate[] its outreach

efforts to spend extra time and money educating its members,” in “in-depth conversations,” about

the challenged “provisions and how to avoid their negative effects.” 867 F.3d at 610. The need

for affirmative outreach because of the allegedly unlawful law, and the corresponding drain on the

organization’s time and resources from “mitigating [the law’s] real-world impact on OCA’s

members and the public,” sufficed to confer standing. Id. at 612.




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       The organizations here make no such claims, nor could they. They are organizations that

oppose abortion. See, e.g., Dkt. 1-4, ¶ 9; Dkt. 1-5, ¶ 8; Dkt. 1-6, ¶ 6. They have not alleged that

the approval of Mifeprex required them to engage in any “outreach efforts” to educate their

members about the impact of Mieprex’s approval on their daily lives. 867 F.3d at 610. They thus

have not identified, in any concrete or particularized way, any additional time or effort toward

mitigating the purported impact of FDA’s approval of Mifeprex. See City of Kyle, 626 F.3d at 236

(no organizational standing when organization did not explain how their activities differed from

“routine lobbying activities”); Tenth Street Residential Ass’n, 968 F.3d at 500 (no injury in fact

when organization’s work aligned with its mission, and the organization did not provide evidence

that it had to “forego other projects or causes”); see also Int’l Acad. of Oral Med. & Toxicology v.

FDA, 195 F. Supp. 3d 243, 257 (D.D.C. 2006) (a “diversion-of-resources injury does not count for

Article III purposes”) (quotation omitted); Ctr. for Responsible Sci. v. Hahn, 809 F. App’x 10, 12

(D.C. Cir. 2020) (no standing to challenge FDA’s denial of petition to amend regulations when

only allegations were that it would cost time and money for education about animal testing issues).

Plaintiffs have merely “conjectured” that the resources that they devoted to challenging FDA could

be used for unidentified activities. City of Kyle, 626 F.3d at 239. This is not enough.

       The Organizational Plaintiffs also suggest they have standing because they have been

challenging FDA’s actions for “decades,” apparently in the form of citizen petitions. Dkt. 7 at 7–

8. It is one thing to complain to a federal agency; it is quite another to sue in federal court. FDA

doesn’t require a showing of injury; a federal court does. The regulation Plaintiffs cite, 21 C.F.R.

§ 10.45(d)(1)(ii), “does not and cannot confer Article III standing”; a regulation cannot trump the




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Constitution.1 Physicians for Integrity in Med. Rsch., Inc. v. Comm’r, No. CV 11-08334 GAF

(FMOx), 2012 WL 12882760, at *2 (C.D. Cal. May 23, 2012); see also Ctr. for Responsible Sci.,

809 F. App’x at 13 (“Of course, neither Congress nor the FDA can confer a right to judicial review

that is not authorized by Article III of the Constitution.”); Pharm. Mfg. Rsch. Servs., Inc. v. FDA,

No. CV 17-04898, 2019 WL 285970, at *4 (E.D. Pa. Jan. 22, 2019) (“Congress cannot abrogate

the requirements of Article III.”).

               2. The Organizational Plaintiffs Lack Associational Standing.

        The Organizational Plaintiffs next suggest they have associational standing to assert claims

on behalf of their members and their members’ patients, who allegedly face medical, emotional,

and financial harms. Dkt. 7 at 8. Provider Plaintiffs assert similar harms. See, e.g., Dkt. 1-53,

¶ 19; Dkt. 1-51, ¶ 6; Dkt. 1-50, ¶ 15; Dkt. 1-52, ¶ 18; Dkt. 7 at 8. None of these is sufficient.

        The alleged harm of treating patients who experience complications from abortion

medication does not confer Article III standing. Plaintiffs have not articulated a “particularized”

and “actual or imminent” increased risk of harm from such complications or the voluntary

reporting of such complications. Shrimpers & Fisherman of RGV v. Texas Comm’n on Env’t

Quality, 968 F.3d 419, 424 (5th Cir. 2020). At most, they have alleged that as with any medication,

some small number of patients who voluntarily chose to take the medication have experienced

complications. Provider standing, directly or as a member of an Organizational Plaintiff, cannot

be based on a third-party patient’s independent choice to take Mifeprex. See Clapper v. Amnesty

Int’l USA, 568 U.S. 398, 414 (2013) (noting the Court’s “reluctance to endorse standing theories

that rest on speculation about the decisions of independent actors”); Physicians for Integrity in



1
 21 C.F.R. § 10.45(d)(1)(ii) states the FDA’s “position” that “[a]n interested person is affected
by, and thus has standing to obtain judicial review of final agency action.”



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Med. Rsch., Inc. v. Ostroff, 670 F. App’x 450, 451 (9th Cir. 2016) (Patients who choose to stop

seeing a doctor “are making an independent choice unrelated to the FDA’s actions.”).2

        Two individual providers suggest financial losses because they lose the opportunity to

render obstetrical and prenatal care to, and collect fees for that care from, those who make the

personal decision to use abortion medication. Dkt. 1-53, ¶ 19; Dkt. 1-52, ¶ 17. This cannot serve

as a basis for Article III standing because it (again) relies on the decision of an independent actor—

the individual who decides to use Mifeprex. See Amnesty Int’l, 568 U.S. at 414.

        Nor can the Provider Plaintiffs bring claims on behalf of their patients. “The rule for third-

party standing requires the named plaintiff to have suffered an injury in fact and to share a ‘close’

relationship with third-parties who face an obstacle inhibiting them from bringing the claim on

their own behalf.” Planned Parenthood of Greater Tex. Surgical Health Servs. v. Abbott, 748 F.3d

583, 589 (5th Cir. 2014) (citing Kowalski v. Tesmer, 543 U.S. 125, 129–30 (2004)). The Provider

Plaintiffs have not suffered an injury in fact, nor have they set forth any allegations suggesting a

“close” relationship nor any obstacle their patients face.3

        Nor, relatedly, do the Organizational Plaintiffs have standing to assert the claims of their

members’ patients. The patients of the members of the organizations are not themselves “members

of, or otherwise directly associated with” the organizations. Pennsylvania Psychiatric Soc. v.



2
  The tertiary injury Plaintiffs claim from being drawn away from caring for other patients to tend
to a hypothetical person experiencing hypothetical adverse effects from a federally approved drug
product is not, and has never been recognized as, a basis for constitutional standing (and imagine
the floodgates if it were). Cf Cigar Ass’n of Am. v. FDA, 323 F.R.D. 54, 64–65 (D.D.C. 2017)
(association’s members did not have standing based on their alleged harm from having to spend
more time “counseling patients and their parents” on the dangers of smoking.).
3
  Provider Plaintiffs cite June Med. Servs. L.L.C. v. Russo, 140 S. Ct. 2103 (2020), in claiming
standing to assert claims on behalf of their patients. But in cases like June, the medical providers
were advocating for access to services for patients who decided to use them—not attempting to
limit access to drugs for patients who decide to use them.



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Green Spring Health Servs., Inc., 280 F.3d 278, 287 (3d Cir. 2002). Plaintiffs point to no Fifth

Circuit case, and we have found none, that authorizes this kind of tertiary constitutional standing.

And in any event, for the Organizational Plaintiffs’ members’ patients to have standing, they would

first need to show that the members have standing—which they do not, as already explained.

        Plaintiffs’ claims about emotional harm fare no better. A plaintiff can only establish injury

“based on emotional harm if that alleged harm stems from the infringement of some ‘legally

protected,’ or ‘judicially cognizable,’ interest that is either ‘recognized at common law or

specifically recognized as such by the Congress.’” Al-Aulaqi v. Obama, 727 F. Supp. 2d 1, 25

(D.D.C. 2010) (citations omitted); Spokeo, Inc. v. Robins, 578 U.S. 330, 341 (2016) (considering

whether intangible harm has “a close relationship” to harm traditionally “regarded as providing a

basis for a lawsuit in English or American courts”). There is no legally protected emotional interest

in treating patients who choose to take a legal drug and later say they wish they had not.

        Finally, alleged harm from purported increased liability and higher insurance costs for

providers does not create Article III standing. Plaintiffs do not claim they faced accusations of

malpractice or increased insurance costs in the 20 years the medication has been available, nor

have they (or can they) tie any such claims to Mifeprex. See Dkt. 1, ¶¶ 310–11; Dkt. 1-6, ¶¶ 23–

24. Hypothetical and speculative allegations are not enough. See Ass’n of Am. Physicians &

Surgeons, Inc. v. FDA, 539 F. Supp. 2d 4, 17, 20 (D.D.C. 2008) (“Although Plan B was available

OTC for one full year before plaintiffs filed their amended complaint,” plaintiffs did not allege

that any doctor suffered a loss of revenue or otherwise support their claim that they had an

increased risk of legal liability).

        B. The Statute of Limitations Has Expired.

        Even if Plaintiffs could clear the Article III bar, they face an additional threshold bar: The

statute of limitations for Plaintiffs’ claims related to the 2000 Approval has long since expired.


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APA challenges “must be brought within six years of the final agency action allegedly causing a

plaintiff’s injury.” Am. Stewards of Liberty v. Dep’t of Interior, 960 F.3d 223, 229 (5th Cir. 2020),

cert. denied sub nom. Yearwood v. Dep’t of the Interior, 141 S. Ct. 1062 (2021). The statute of

limitations here ran in 2006, nearly 17 years ago.

       Plaintiffs seek to salvage their claims by arguing the 2016 Supplemental Approval and the

2021 Petition Response “reopened” FDA’s 2000 Approval. Dkt. 7 at 11–12. “The ‘reopener

doctrine’ provides that a period for seeking judicial review can begin anew ‘when the agency in

question by some new promulgation creates the opportunity for renewed comment and

objection.’ ” Nat’l Mining Ass’n v. Off. of Hearings & Appeals, 777 F. Supp. 2d 164, 173 (D.D.C.

2011) (citation omitted); Sierra Club v. EPA, 551 F.3d 1019, 1024 (D.C. Cir. 2008) (“[T]he time

for seeking review starts anew where the agency reopens an issue ‘by holding out the unchanged

section as a proposed regulation, offering an explanation for its language, soliciting comments on

its substance, and responding to the comments in promulgating the regulation in its final form’ ”).

       “The doctrine is ‘designed to ensure that when the agency by some new promulgation

creates the opportunity for renewed comment and objection, affected parties may seek judicial

review, even when the agency decides not to amend the long-standing rule at issue.’” Am. Forest

Res. Council v. Ashe, 946 F. Supp. 2d 1, 22 (D.D.C. 2013) (citation omitted), aff’d, 601 F. App’x

1 (D.C. Cir. 2015). “It applies where the ‘entire context’ shows that the agency ‘has undertaken a

serious, substantive reconsideration of the existing rule.’” Id. (citation omitted.

       Plaintiffs have not cited a single case where a court has applied the reopener doctrine in

the context of FDA approving a manufacturer’s supplemental new drug application (“sNDA”).

“The FDA’s approval of a SNDA is a relatively closed process.” Ass’n of Am. Physicians &

Surgeons, 539 F. Supp. 2d at 21. The process does not involve or require any rulemaking, and no




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notice-and comment procedures are involved. See 21 U.S.C. § 355(b); 21 C.F.R. § 314.70.

Plaintiffs cannot point to any “serious, substantive reconsideration” of an existing rule because

there was no change to an existing rule—much less a new rule promulgated. Forest Res. Council,

946 F. Supp. 2d at 22.

       Even if the reopener doctrine could be applied (for the first time, apparently) outside the

rulemaking context, Plaintiffs’ argument would still fail. FDA cannot simply reopen a previous

approval and simply change its mind; it must invoke specific procedures to revoke a previously

granted approval. See 21 USC § 355(e); 21 CFR § 314.150. The 2016 Supplemental Approval,

see Dkt. 1-33, for example, was in response to a sNDA that Danco submitted to FDA; it did not

substantively alter FDA’s 2000 Approval of the NDA. The FDA’s 2021 Response rejecting the

changes suggested in a citizen petition similarly did not trigger reopening because FDA did not

engage in reconsideration sufficient to establish reopening: “when the agency merely responds to

an unsolicited comment by reaffirming its prior position, that response does not create a new

opportunity for review.” See Sierra Club, 551 F.3d at 1024.

       C. Plaintiffs’ APA Claims Are Unlikely to Succeed On The Merits.

       Even if Plaintiffs could overcome their standing and statute of limitations challenges, their

claims still fail on the merits. Plaintiffs argue that (1) FDA used the wrong approval pathway for

its 2000 Approval and 2016 Petition Denial, (2) FDA did not reasonably find Mifeprex safe and

effective under the conditions of use prescribed, recommended, or suggested in the proposed

labeling, (3) FDA violated federal postal laws, and (4) because FDA should not have approved




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Mifeprex in 2000, FDA also should not have approved a generic mifepristone in 2019. Dkt. 7 at

14. Each of these is wrong.4

                     1. FDA Properly Approved Mifeprex Under Subpart H.
        Plaintiffs first challenge FDA’s application of 21 C.F.R. Part 314 (Subpart H) to approve

Mifeprex. Subpart H “applies to certain new drug products that have been studied for their safety

and effectiveness in treating serious or life-threatening illnesses and that provide meaningful

therapeutic benefit to patients over existing treatments.” 21 C.F.R. § 314.500. Plaintiffs describe

pregnancy as a “physiological state” or “condition,” terms they suggest cannot be reconciled with

“serious or life-threatening illness[]” or disease. Dkt. 7, at 14–15. In Plaintiffs’ view, FDA failed

to follow its own regulation in approving Mifeprex and denying the 2016 Citizen Petition.

        Plaintiffs are unlikely to succeed on this claim. To begin with, Plaintiffs have no timely,

exhausted claim that FDA impermissibly used Subpart H to approve Mifeprex. Plaintiffs raised

the issue in the 2002 Citizen Petition, and FDA concluded that Mifeprex was properly approved

under Subpart H, Dkt. 1-28 at 3-7. The statute of limitations has since run for Plaintiffs to challenge

that approval. Plaintiffs did not raise the issue in their 2019 Citizen Petition. They thus have not

exhausted any similar claims related to the 2016 Supplemental Approval. See 21 C.F.R. § 10.45.

        Even if Plaintiffs had timely raised and exhausted this claim, it is meritless. Before

approving Mifeprex under Subpart H, FDA considered “the potential in any pregnancy for serious

or life-threatening complications—such as hemorrhage—in its determination.” App. 565-66; 2008

GAO Report, at 22. FDA’s conclusion that Mifeprex met the particular demands of Subpart H

was the agency’s “official position.” Kisor v. Wilkie, 139 S. Ct. 2400, 2415–18 (2019) (citing



4
  Because Danco has not sought to intervene on Claim 4, which is related to the 2019 Approval of
a generic version of Mifeprex, it does not address the merits of those claims.



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Auer v. Robbins, 519 U.S. 452 (1997)).           The interpretive inquiry “implicate[s]” FDA’s

“substantive expertise,” id.; the agency is the primary arbiter of which drugs are safe and effective

for which uses. FDA approved Mifeprex following four years of deliberation and described its

rationale in a detailed drug approval package, reflecting that the decision also represents the “fair

and considered judgment” of the agency. Id.; see App. 517-25. The FDA’s interpretation is worthy

of deference under the modified standard announced in Kisor.

       Plaintiffs next contend FDA violated its own rule because it considered the avoidance of

surgical abortion a “meaningful therapeutic benefit” of Mifeprex. Dkt. 7 at 16–17. Plaintiffs

maintain that medical abortions cause more potential serious and life-threatening adverse effects

than do surgical abortions, and the necessity of surgical intervention after “many” medical

abortions means that Mifeprex is “not an alternative ‘therapy’ ” under Subpart H. Id. at 16.

       This legal conclusion rests on two incorrect factual premises, both easily disproven (and

both within FDA’s expertise, not a court’s). First, medical abortion is not far more dangerous than

surgical abortion. See, e.g., Nat’l Acads. of Scis., Eng’g & Med., The Safety and Quality of

Abortion Care in the United States 55, 60 (2018); Dkt. 1-33 at 10–1. And second, the assertion

that “many” women require surgical intervention following a medical abortion is simply false. See

Kelly Cleland et al., Significant Adverse Events and Outcomes After Medical Abortion, 121

Obstetrics & Gynecology 166, 169 (Jan. 2013), (only 0.06% of patients experienced complications

after a medical abortion resulting in hospital admission). FDA’s carefully considered decision,

rooted in scientific evidence, that Mifeprex confers a “meaningful therapeutic benefit to patients

over existing treatments” (here, surgical abortion), 21 C.F.R. § 314.500, was amply supported.

App. 566-69. Among other things, FDA considered that use of the medical abortion allows women




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to avoid undergoing an invasive surgical procedure – including possible complications of

anesthesia or sedation and a longer recovery time following the procedure. Id.

                    2. FDA’s 2000 Approval, 2016 Changes, and 2021 Petition Response Relied
                    on Valid Clinical Evidence.
        Plaintiffs next assert that FDA’s original approval of Mifeprex in 2000 and the

supplemental approval in 2016 were arbitrary and capricious because the clinical trials on which

FDA relied did not study the exact conditions of use under the approved label. Dkt. 7 at 18.

Plaintiffs also claim the 2021 Non-Enforcement Decision and 2021 Petition Response were

arbitrary and capricious because the data sources on which FDA relied are invalid.5

        To begin with, and again, FDA is the expert agency charged by Congress with reviewing

and approving drug applications and any subsequent changes to those applications. A team of

experts (including physicians, statisticians, chemists, pharmacologists, and other scientists)

reviews each NDA submitted to the agency and carefully assesses all relevant data in light of the

proposed labeling and intended use of the drug, and supports approval of the application if the

applicant has demonstrated that the drug is safe and effective under the conditions of use

prescribed, recommended, or suggested in the proposed labeling. Plaintiffs’ attack on FDA’s

rigorous approval process is the quintessential example of a meritless APA challenge. See Zeneca,

Inc. v. Shalala, 213 F.3d 161, 170 (4th Cir. 2000) (FDA did not act “arbitrarily and capriciously”

when it approved an ANDA); Upjohn Mfg. Co. v. Schweiker, 681 F.2d 480, 484 (6th Cir. 1982)

(rejecting challenge to NDA approval)



5
  Plaintiffs argue in their Memorandum in Support of Preliminary Injunction that the FDA’s 2021
Non-Enforcement Decision is arbitrary and capricious because it relied on faulty data. Dkt. 7 at
19. This claim is not included in any Count of their Complaint. See Dkt. 1 at 94-110. Plaintiffs
only assert one claim based on the 2021 Non-Enforcement Decision—Count 5, which relates only
to mailing of mifepristone. For that reason, too, Plaintiffs’ argument should be rejected.



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       And in any event, Plaintiffs’ out-of-bounds attack reads a requirement into the law that

does not exist. FDA is not limited to relying on data evaluating the exact, proposed conditions of

use. Rather, FDA must find that there is “substantial evidence that the drug will have the effect it

purports or is represented to have under the conditions of use prescribed, recommended, or

suggested in the proposed labeling.” 21 U.S.C. § 355(d); see also App. 589 (explaining to

AAPLOG and CMDA that “[m]any clinical trial designs are more restrictive . . . than will be

necessary or recommended in postapproval clinical use; this additional level of caution is exercised

until the safety and efficacy of the product is demonstrated”).

       Here, FDA derived the necessary effectiveness and safety data for the 2000 Approval from

a U.S. clinical trial and two French trials. App. 519. FDA also repeatedly considered each of the

suggested additional restrictions of use Plaintiffs raise here—and repeatedly concluded Mifeprex

is safe and effective for patient use without them. See, e.g., App. 522 (FDA “carefully considered”

the role of ultrasound and concluded it should be left to the “medical judgement of the physician”);

App. 579-80 (same); App. 522 (provider either must be in position to furnish surgical intervention

or provide a referral, and proposing monitoring study to ensure quality of care); App. 580-82

(same); App. 522 (travel distance requirement was not necessary in light of requirement of

“adequate access to emergency services”); App. 520 (recognizing that mandatory observation

period was no longer needed because drug causing the basis for it was no longer used).

       The same holds true for the 2016 Supplemental Approval. FDA again concluded that

Plaintiffs’ proposed limitations were not necessary for Mifeprex to be used safely and effectively.

See App. 740-41 (reaffirming conclusion to leave to provider judgement whether an ultrasound

was required); App. 741 (again recognizing that providers must be able to provide surgical care or

have a referring relationship); id. (noting that it is “common practice for healthcare providers to




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provide emergency care coverage for other healthcare providers’ patients”). Plaintiffs’ challenges

to the 2021 Changes fare no better. They suggest FDA improperly relied on the FDA Adverse

Event Reporting System (FAERS) data in reaching its conclusions, and note that FDA

acknowledged some limitations in the literature. Dkt. 7, at 20. But the agency need not show

uniform evidence to support its scientific conclusion; that would be a near-impossibility. It need

only determine that substantial evidence supports the agency determinations and decision, which

it clearly did; FDA relied on significant published literature in reaching its conclusions. App. 756-

765. And while FDA recognized the limitations within the data, it used its expert judgment to

reach the conclusion that Mifeprex would be safe and effective under the conditions of use

proposed. App. 764.

       FDA’s repeated, thorough, and well-supported conclusions confirm that the agency’s

actions were consistent with the statutory and regulatory provisions governing the review and

approval of NDAs and were not arbitrary and capricious. See Cumberland Pharms. Inc. v. FDA.,

981 F. Supp. 2d 38, 48 (D.D.C. 2013) (“[T]he FDA’s judgments as to what is required to ascertain

the safety and efficacy of drugs fall squarely within the ambit of the FDA’s expertise and merit

deference”); Astellas Pharma US, Inc. v. FDA, 642 F. Supp. 2d 10, 20 (D.D.C. 2009) (recognizing

the “high level of deference that must be afforded to the FDA” in determining methodologies for

approval and finding FDA did not act in arbitrary and capricious manner in setting bioequivalence

guidelines); Sanofi-Aventis U.S. LLC v. FDA, 733 F. Supp. 2d 162, 171 (D.D.C. 2010) (FDA

determination of what is necessary to assess purity of generic drug is entitled to deference). Cases

where FDA reached the opposite conclusion—that a party had not presented significant evidence

that the drug would be safe and effective under the proposed label—are inapposite. See e.g.,

United States v. An Article of Device . . . Diapulse, 768 F.2d 826, 832 (7th Cir. 1985) (affirming




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FDA’s refusal to permit relabeling of previously condemned medical device). In 2000, 2016, and

2021, FDA considered various issues Plaintiffs raised and, each time, concluded that the approval

of the NDA or sNDA was appropriate and that the restricted distribution system and other

conditions of use were sufficient to ensure safe use of the product. FDA’s decisions, grounded in

law and science, must stand.

                     3. The Approvals Decisions Are Not Contrary to Federal Law.
       Plaintiffs also suggest the agency’s approvals of Mifeprex are invalid because they did not

restrict the distribution of Mifeprex, including through mail. Here, again, Plaintiffs have no

exhausted claim. Plaintiffs did not raise arguments about restrictions on the distribution of

Mifeprex through mail in any petition at issue in this litigation. The claim should be dismissed on

that basis alone. 21 C.F.R. § 10.45.

       Plaintiffs are also wrong again on the merits. The Comstock Act does not prohibit the

mailing of federally approved drugs when used for a lawful purpose. See 46 Op. O.L.C. __, 5

(Dec. 23, 2022), https://www.justice.gov/olc/opinion/file/1560596/download.              Plaintiffs’

suggestion that the 2000 Approval and 2016 Supplemental Approval are invalid because they “did

not include prohibitions on the upstream distribution of mifepristone,” Dkt 7 at 21, is also wrong,

because it again reads a requirement into the law where none exists. FDA can only impose

distribution limitations when it “concludes that a drug product shown to be effective can be safely

used only if distribution or use is restricted.” 21 C.F.R. § 314.520(a). In 2000, FDA determined

that certain restrictions on distribution were necessary to ensure safe use of Mifeprex based on the

available data. 2016 Pet. Resp. 19-21. When evaluating the sNDA, FDA considered the

subsequent 15 years of data to determine that certain requirements were no longer necessary to

ensure safe use of the product. App. 630-42.




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II.    Plaintiffs Will Not Suffer Irreparable Harm Absent an Injunction.

       Plaintiffs bear the burden of showing that the irreparable harm of which they complain is

not just possible, but likely. See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).

Plaintiffs must face “a significant threat of injury from the impending action,” Dickey’s Barbecue

Rest. Inc. v. GEM Inv. Grp., L.L.C., No. 3:11-CV-2804-L, 2012 WL 1344352, at *4 (N.D. Tex.

Apr. 18, 2012) (citation omitted), meaning the injury must be “imminent.” ADT, LLC v. Cap.

Connect, Inc., 145 F. Supp. 3d 671, 694 (N.D. Tex. 2015). “The ‘irreparable harm’ factor is

perhaps the most important of the four elements that the Court must consider.” Mayo Found. for

Med. Educ. & Rsch. v. BP Am. Prod. Co., 447 F. Supp. 3d 522, 534 (N.D. Tex. 2020).

       For starters, Plaintiffs’ extreme delay gives the lie to their arguments about irreparable

harm. “[D]elay in seeking a remedy is an important factor bearing on the need for a preliminary

injunction.” Wireless Agents, L.L.C. v. T-Mobile, USA, Inc., No. CIV.A. 3:05-CV-0094D, 2006

WL 1540587, at *4 (N.D. Tex. June 6, 2006) (citation omitted). “Absent a good explanation, a

substantial period of delay militates against the issuance of a preliminary injunction by

demonstrating that there is no apparent urgency to the request for injunctive relief.” Gonannies,

Inc. v. Goupair.Com, Inc., 464 F.Supp.2d 603, 609 (N.D. Tex. 2006) (quoting Wireless Agents, ,

2006 WL 1540587, at *3).

       Usually, when a defense of “delay” is made to a preliminary injunction, the parties are

quarreling over whether a few weeks’ or few months’ delay puts a PI out of reach for the

complaining party. Here, Plaintiffs seek to undo FDA conduct dating back over two decades. The

most recent FDA action Plaintiffs point to is the December 16, 2021 citizen petition denial. Dkt.

7 at 6. Plaintiffs then waited 11 months to file this suit. See, e.g., Gonannies, 464 F. Supp. 2d at

609 (six-month delay rebuts any presumption of irreparable harm); Wireless Agents, 2006 WL

1540587, at *5 (one-year delay showed “no apparent urgency” to request for injunctive relief).


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       Even setting Plaintiffs’ delay aside, Plaintiffs fail to assert a “significant threat” of

imminent injury. Plaintiffs first suggest that “women and girls” may suffer irreparable harm

caused by medical abortion. Dkt. 7 at 23. Injuries to third parties are not a sufficient basis for

irreparable harm – much less speculative injuries to unknown third parties.           See Alcresta

Therapeutics, Inc. v. Azar, 318 F. Supp. 3d 321, 326 (D.D.C. 2018); Cardinal Health, Inc. v.

Holder, 846 F. Supp. 2d 203, 213 (D.D.C. 2012). Plaintiffs also point to two extra-record studies

sponsored by a prominent anti-abortion organization to support their claimed harm. But here, too,

claimed risk of harm is not theirs to claim. These studies are not in the administrative record, and

the agency, not a court, is the place to submit further studies. 21 CFR § 314.80; 21 U.S.C. 355(k).

       Plaintiffs also suggest they will suffer “mental” anguish without a preliminary injunction.

But all Plaintiffs assert is a generalized “concern” that members of a provider association will

experience “emotional and moral distress.”       App. 183.    This generalized “concern” is too

speculative to constitute “irreparable harm.” Digital Generation, Inc. v. Boring, 869 F. Supp. 2d

761, 784 (N.D. Tex. 2012). If “mental anguish” over a government action sufficed for standing,

anyone claiming heartfelt disagreement with, and emotional turmoil caused by, a governmental

policy could seek relief. No court has ever found irreparable injury in that sort of circumstance.

       And finally, Plaintiffs’ claims of lost time, money, and resources are not enough to

constitute irreparable harm. Dkt. 7 at 23. “Mere injuries, however substantial, in terms of money,

time and energy necessarily expended in the absence of a stay, are not enough.” Virginia

Petroleum Jobbers Ass’n v. Fed. Power Comm’n, 259 F.2d 921, 925 (D.C. Cir. 1958).

III.   The Harm to Danco and the Public Interest Favors Denying Plaintiffs’ Request.

       The final remaining factors—balance of hardships and public interest—merge when the

government is the opposing party. Nken, 556 U.S. at 435. At this juncture, the Court “must balance




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the competing claims of injury and must consider the effect on each party of the granting or

withholding of the requested relief.” Winter, 555 U.S. at 24.

       Plaintiffs will not be harmed absent an injunction. But even if they were, any alleged harm

would be minimal compared to the harm Danco would experience upon entry of a preliminary

injunction. Danco is a small pharmaceutical company. It sells one drug: Mifeprex. Danco’s App.

¶ 2. Entering the mandatory preliminary injunction Plaintiffs seek would force FDA to withdraw

approval for Danco’s only product, effectively shuttering Danco’s business. Id. ¶¶ 2, 4-6. A

preliminary injunction should be denied where it “would cause extreme hardship to the business,

or even threaten destruction of the business.” Virtus Pharms., LLC v. Garland, No. CV 21-2308

(CKK), 2021 WL 4306165, at *13 (D.D.C. Sept. 22, 2021) (citation omitted).

       Moreover, the type of injunction Plaintiffs seek here is even more unusual than the standard

preliminary injunction. “The purpose of a preliminary injunction is merely to preserve the relative

positions of the parties until a trial on the merits can be held.” Talon Transaction Techs., Inc. v.

StoneEagle Servs., Inc., No. 3:13-CV-00902-P, 2013 WL 12173219, at *2 (N.D. Tex. July 24,

2013) (citation omitted). Here, forcing FDA to withdraw its approval of mifepristone would not

change the status quo; it would completely upend the status quo.

       The public interest likewise favors denial of a preliminary injunction. The public interest

is always supported by allowing patients access to drugs FDA has found to safe and effective. See

Bianco v. Globus Med., Inc., No. 2:12-CV-147-JRG, 2012 WL 5611054, at *4 (E.D. Tex. Nov.

15, 2012); Sandoz, Inc. v. FDA., 439 F. Supp. 2d 26, 33 (D.D.C. 2006).

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs’ motion for a preliminary injunction should be denied.




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Dated: January 13, 2023                   Respectfully submitted,


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